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               Convention and Trade Show Marketing Material Order Form
                                 Updated 04/09/2014
                                                                        Unit of         Qty
Item #      Description                                                 Measure      Requested
GN33318     Oral Transmucosal Fentanyl Citrate                          Ea.         not available
GEN00613    Fentanyl Patch Sell Sheet                                   Ea.                       5
GN11214     Methylphenidate ER Tablet Sell Sheet (Concerta)             Ea.                     20
GEN00913    Generic Catalogs                                            Ea.                     25
GEN00713    Unit Dose Sell Sheet                                        Ea.                     20
GN03471     Hydrocodone Bitartrate and Aceteminophen Sell Sheet         Ea.                       5
GN05123     Oxycodone / APAP Sell Sheet                                 Ea.                       5
GN83170     Morphine Sulfate Extended-Release Brochures                 Ea.         not available
978159103   Pain Management Pocketcard Set                              Ea.         not available
GN03472     Ease Your Pain - A Guide to Feeling Better Pamphlet         Ea.         not available
934379      Oxford American Pocket Cards (OAPC) Breakthrough Pain       Ea.         not available
GN89582     Dextroamphetamine Sulfate Tablets USP 5 & 10mg              Pk of 25    not available
GN89581     Dextroamphetamine Extended-Release Capsules; 5, 10 & 15mg   Pk of 25    not available
GN00051     Convention Pads                                             Pad of 50   not available
n/a         Corporate Product Monitoring Cards                          Ea.                     50
GN83166     Morphine Oral Solution Sell Sheets                          Pk of 25    not available
